
376 U.S. 779 (1964)
J. B. ACTON, INC.,
v.
UNITED STATES ET AL.
No. 726.
Supreme Court of United States.
Decided April 6, 1964.
APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MISSOURI.
James W. Wrape, Robert E. Joyner and Harold G. Hernly for appellant.
Solicitor General Cox, Assistant Attorney General Orrick, Robert B. Hummel, Robert W. Ginnane and Francis A. Silver for the United States et al.
PER CURIAM.
The motion to affirm is granted and the judgment is affirmed.
